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EXHIBIT B

 
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Richard, Stephanie

From: Champagne, Jessica

Sent: Wednesday, September 09, 2020 10:13 AM
To: DMAContracts; brokeragebus

Ce: DMAVendor

Subject: RE: Rates

Good morning Paul,

| have escalated your issue of being locked out of your portal over the weekend, Mart did go ahead and reset your
password yesterday per my request as we discussed over the phone. However at this time you are on a “no work hold”
due to your workers comp expiring. In order to return to working duties you do need to correct this matter. Has this
been corrected, if so please have your insurance liaison outreach Rebecca to get that squared away? Once we have
received confirmation this had been address and corrected on Marts end we will reach to you to Jet you know the next

steps to get you back and operational for Mart.

Thank you,

Jessica Champagne

Team Lead
Program & Contracts Management

978-665-2869 direct fine
978-342-1063 fax number

From: paul jones (mailte:cerdcorp @gmail.com]
Sent: Wednesday, September 09, 2020 7:20 AM
To: Champagne, Jessica; Moyo, Michelle
Subject: Rates

I sent a request to be allowed to change CCRD rates yesterday because we were locked out of the portal over
the long weekend any word?

Paul Jones / Director
Commonwealth Community
Recovery Division Inc.

79 Thompson Street
Springfield, Ma 01109

Cell: 617-939-5417

Tol! Free: 888-680-4667
Fax: 888-726-8386
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Richard, Stephanie

From: Richard, Stephanie

Sent: Wednesday, September 09, 2020 12:26 PM

Cc: Champagne, Jessica; DMAVendor, Desrosiers, Rebecca
Subject: RE: Rates

Hi, Vendor could not access the portal because he is marked as -3 in names due to him being on hold since April, he is
not allowed to resume work until a full insurance review is completed,

Thank you

Stephanie

From: Moyo, Michelle

Sent: Wednesday, September 09, 2020 9:06 AM

To: DMAContracts <BrokerageContracts@MRTA.US>

Cc: Champagne, Jessica <Jessica., Champagne@MRTA.US>; DMAVendor <DMAVendor@MRTA.US>

Subject: FW: Rates

Please see the vendors email below. Thank you..

Michelle Moyo

Montachusett Regional Transit Authority
Vendor Compliance Agent

michelle. moyo@unrta.us

(978) 665-2864

Fax: (978) 342-1053

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permanently delete the original with its attachments and destroy all coples. Thank you.

From: paul jones [mailto:ecrdcorp@gmail. com)

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To: Champagne, Jessica; Moyo, Michelle
Subject: Rates

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